 Case: 1:17-md-02804-DAP Doc #: 5594 Filed: 08/20/24 1 of 3. PageID #: 644220




                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                   MDL NO. 2804
 OPIATE LITIGATION
                                                Case No. 17-MD-2804
 THIS DOCUMENT RELATES TO:
                                                Judge Dan Aaron Polster
 All Cases




                   MOTION FOR LITIGATION HOLD NOTICE EXTENSION

       The Amending Plaintiffs,1 by and through undersigned counsel, jointly move this

Court to extend to September 30, 2024, the deadline by which the PEC is required to

submit the notice required by the Court’s July 10, 2024 order. In that order, this Court

instructed the PEC to file by September 9, 2024, “a single notice for all [plaintiffs seeking

leave to amend] indicating whether a litigation hold was implemented2 in each case, and

if so, when.” Doc. # 5517. Since then, the PEC has surveyed MDL counsel and filed

motions for leave to amend on behalf of more than 2,000 plaintiffs. In light of the large




1 The Amending Plaintiffs are the plaintiffs that filed motions for leave to amend on July

29 and 30, 2024, pursuant to docket no. 5455. On August 1, 2024, the PEC filed
corrected motions deleting one plaintiff and adding 3 that were inadvertently omitted. The
PEC also proposed that it provide an updated list of Amending Plaintiffs by September 1,
2024, deleting any plaintiffs that have elected not to proceed with amendment. The PEC
has since requested a similar short extension of that deadline, to September 15, 2024.
2 The Court has since clarified the question of whether a plaintiff has “implemented” a

litigation hold. For the purposes of this inquiry, the Amending Plaintiffs understand
“implemented” to mean that the plaintiff has sent a litigation hold notice out to the
individuals/agencies intended to retain documents related to the lawsuit. July 23, 2024
CMC Tr. at 39:3-21, 40:3-10, 42:10-16. No further inquiry is required to satisfy the Court’s
July10, 2024 order.
 Case: 1:17-md-02804-DAP Doc #: 5594 Filed: 08/20/24 2 of 3. PageID #: 644221




number of plaintiffs from whom information must be gathered, and the complicating factor

of obtaining such information during the summer months, good cause exists for this

limited extension to September 30, 2024, to enable the PEC to compile the information

sought.

       Nine of the 14 defendants subject to these motions have indicated they do not

oppose the extension requested,3 including Optum and ESI, against whom the largest

number of plaintiffs have moved (over 2,000). The remaining defendants have not

responded to the PEC’s inquiry at this time. However, as the defendants noted in their

recent request to extend their deadline to respond to the Amending Plaintiffs’ motions for

leave from 60 days to 127 days, “it would promote judicial economy to extend the

deadlines for all . . . defendant families by the same amount.” Doc. # 5590. Consequently,

the PEC requests that the deadline for providing the litigation hold notice be extended to

September 30, 2024.

Dated: August 20, 2024                        Respectfully submitted,

                                                 Jayne Conroy
                                                 SIMMONS HANLY CONROY
                                                 112 Madison Avenue, 7th Floor
                                                 New York, NY 10016
                                                 (212) 784-6400
                                                 jconroy@simmonsfirm.com




3 On August 19, 2024, the PEC inquired whether defendants would not oppose the PEC’s

request for an extension of both the deadline to provide an updated list of Amending
Plaintiffs and the litigation hold notice deadline. See Exhibit A attached. Eight defendants
(Albertsons, Aurolife/Aurobindo, Costco Wholesale, Discount Drug Mart, Express Scripts,
KVK-Tech, Lupin Pharmaceuticals, and OptumRx) responded that they did not oppose
the request for an extension of either deadline. Tris Pharmaceutical joined in this
agreement on August 20, 2024. See Exhibit B.
                                             2
 Case: 1:17-md-02804-DAP Doc #: 5594 Filed: 08/20/24 3 of 3. PageID #: 644222




                                                  Joseph F. Rice
                                                  MOTLEY RICE LLC
                                                  28 Bridgeside Blvd.
                                                  Mt. Pleasant, SC 29464
                                                  (843) 216-9000
                                                  (843) 216-9290 (Fax)
                                                  jrice@motleyrice.com

                                                  Paul T. Farrell, Jr., Esq.
                                                  FARRELL & FULLER LLC
                                                  270 Munoz Rivera Avenue
                                                  San Juan, PR 00918
                                                  (304) 654-8281
                                                  paul@farrellfuller.com

                                                  Plaintiffs’ Co-Lead Counsel

                                                  /s/Peter H. Weinberger
                                                  Peter H. Weinberger (0022076)
                                                  SPANGENBERG SHIBLEY &LIBER
                                                  1001 Lakeside Avenue East, Suite 1700
                                                  Cleveland, OH 44114
                                                  (216) 696-3232
                                                  (216) 696-3924 (Fax)
                                                  pweinberger@spanglaw.com

                                                  Plaintiffs’ Liaison Counsel


                               CERTIFICATE OF SERVICE


       I hereby certify that on August 20, 2024, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system. Copies will be served upon counsel of
record by, and may be obtained through, the Court CM/ECF system.

                                                    /s/Peter H. Weinberger
                                                    Peter H. Weinberger




                                              3
